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                                   4                                      UNITED STATES DISTRICT COURT

                                   5                                     NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        META PLATFORMS, INC.,
                                   7                                                              Case No. 20-cv-07182-JCS
                                                            Plaintiff.
                                   8
                                                   v.                                             CASE MANAGEMENT AND
                                   9                                                              PRETRIAL ORDER (JURY)
                                        BRANDTOTAL LTD., et al.,
                                  10
                                                            Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13        IT IS HEREBY ORDERED THAT:

                                  14        I. TRIAL DATE

                                  15        A. Jury trial will begin on October 31, 2022, at 8:30 a.m., in Courtroom TBD, U.S. District

                                  16   Court, 450 Golden Gate, San Francisco, California.

                                  17        B. The length of the trial will be not more than eight (8) days.

                                  18        II.         PRETRIAL CONFERENCE

                                  19        A Final Pretrial Conference shall be held on October 7, 2022, at 2:00 p.m., by Zoom (Zoom

                                  20   Webinar: 161 926 0804. Password: 050855). Each party shall attend by lead trial counsel.
                                            III.        TRIAL PROCEDURES
                                  21
                                                        A. Counsel shall not prepare a Joint Pretrial Conference Statement. Instead, thirty
                                  22
                                       (30) calendar days in advance of the Final Pretrial Conference, please do the following:
                                  23
                                                         1. In lieu of preparing a Joint Pretrial Conference Statement, the parties shall meet
                                  24
                                                             and confer in person, prepare and file a jointly signed Proposed Final Pretrial
                                  25
                                                             Order that contains: (a) a brief description of the substance of claims and defenses
                                  26
                                                             which remain to be decided; (b) a statement of all relief sought; (c) all stipulated
                                  27
                                                             facts; (d) a list of all factual issues that remain to be tried, stating the issues with
                                  28
                                       Revised 5-9-18
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                                   1              the same generality/specificity as any contested elements in the relevant jury

                                   2              instructions and organized by counts; (e) a joint exhibit list in numerical order,

                                   3              including a brief description of the exhibit and Bates numbers, a blank column for

                                   4              when it will be offered into evidence, a blank column for when it may be received

                                   5              into evidence, and a blank column for any limitations on its use; and (f) each
                                                  party’s separate witness list for its case-in-chief witnesses (including those
                                   6
                                                  appearing by deposition) providing, for all such witnesses, a short statement of
                                   7
                                                  the substance of his/her testimony and, separately, what, if any, non-cumulative
                                   8
                                                  testimony the witness will offer. If non-cumulative testimony is not spelled out,
                                   9
                                                  the Court will presume the witness is cumulative. For each witness, state an
                                  10
                                                  hour/minute time estimate for the direct examination (only). Items (e) and (f)
                                  11
                                                  should be appendices to the proposed order. The proposed order should also state
                                  12
Northern District of California




                                                  which issues, if any, are for the Court to decide, rather than the jury. The
 United States District Court




                                  13
                                                  objective is to convert the proposed order to a final order with the benefit of any
                                  14
                                                  discussion at the Final Pretrial Conference.
                                  15
                                               2. File a joint set of proposed instructions on substantive issues of law arranged in a
                                  16
                                                  logical sequence. If undisputed, an instruction shall be identified as "Stipulated
                                  17              Instruction No.__ Re__," with the blanks filled in as appropriate. Disputed
                                  18              instructions shall be identified as "Disputed Instruction No.__ Re__." Where the
                                  19              parties offer competing versions of a disputed instruction, both versions shall be
                                  20              inserted together, back to back, in their logical place in the overall sequence. All
                                  21              disputed versions of the same basic instruction shall bear the same number. For
                                  22              all disputed instructions, regardless of whether the parties offer competing
                                  23              versions of a disputed instruction or a disputed instruction on a particular subject

                                  24              is offered by only one party, each party shall provide a brief explanation of its

                                  25              position, with citations to relevant authority. These explanations should be

                                  26              inserted in the joint jury instructions on the page(s) immediately following the

                                  27              disputed instruction(s). Even if stipulated, an instruction shall be supported by

                                  28              citation to relevant authority and/or identifying the source of the proposed
                                                                                    2
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                                   1                    instruction in the case of form instructions. Any modification to a form

                                   2                    instruction should be plainly identified. With respect to form preliminary

                                   3                    instructions, general instructions, or concluding instructions, the parties should

                                   4                    use the Ninth Circuit Model Jury Instructions when available. As to those

                                   5                    instructions, the parties may simply cite to the numbers of the requested
                                                        instructions in the current edition of the Ninth Circuit Model Jury Instructions.
                                   6
                                                        Other than citing the numbers, the parties need not include preliminary, general,
                                   7
                                                        or concluding instructions in the packet.
                                   8
                                                    3. File a joint set of proposed voir dire questions supplemented as necessary by
                                   9
                                                        separate requests for good cause only.
                                  10
                                                    4. Any motions in limine shall be submitted as follows: at least thirty (30) calendar
                                  11
                                                        days before the conference, the moving party shall serve, but not file, the opening
                                  12
Northern District of California




                                                        brief. The responding party shall serve the opposition, ensuring that it is
 United States District Court




                                  13
                                                        delivered to the moving party no later than noon Pacific Time at least twenty (20)
                                  14
                                                        calendar days before the conference. There will be no reply. When the
                                  15
                                                        oppositions are received, the moving party should collate the motion and the
                                  16
                                                        opposition together, back-to-back, and then file the paired sets at least twenty
                                  17                    (20) calendar days before the conference. Each motion should be presented in a
                                  18                    separate memorandum and properly identified, for example, “Plaintiff’s Motion
                                  19                    in Limine No. 1 to Exclude . . . .” Please limit motions in limine to circumstances
                                  20                    that really need a ruling in advance. Usually five or fewer motions per side is
                                  21                    sufficient. Each motion should address a single, separate topic, and contain no
                                  22                    more than seven pages of briefing per side. Leave of Court will be required for
                                  23                    more or longer motions.

                                  24                5. File trial briefs on any controlling issues of law.

                                  25                6. File proposed verdict forms, joint or separate.

                                  26              B. Not less than ten (10) days before the Pretrial Conference, counsel or the parties

                                  27   shall file and serve any objections to exhibits.

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                                   1                 C. Exhibits and witnesses not included in the Proposed Joint Pretrial Order pursuant to

                                   2   Paragraph III.A. may not be used in a party’s case-in-chief and may not be used during cross

                                   3   examination of the other side's case- in-chief (other than for impeachment). Defense witnesses are

                                   4   not rebuttal witnesses. Objections not raised pursuant to Paragraph III.B. are waived.

                                   5                 D. Chambers’ copies of the aforementioned documents shall submitted in .pdf format
                                       and emailed to JCSPO@cand.uscourts.gov. Please do not submit paper copies unless requested by
                                   6
                                       the Court. The Joint Proposed Final Pretrial Order, jury instructions, and verdict form shall be
                                   7
                                       submitted via e-mail as attachments, in MS Word format, to Judge Spero's Law Clerk
                                   8
                                       Melissa_Dawson@cand.uscourts.gov, or Sam_Wheeler@cand.uscourts.gov
                                   9
                                       and to Judge Spero's Courtroom Deputy Karen_Hom@cand.uscourts.gov. Please do not submit
                                  10
                                       papers copies unless requested by the Court.
                                  11
                                                     E. At the Final Pretrial Conference, the above submissions shall be considered and
                                  12
Northern District of California
 United States District Court




                                       argued. The parties shall submit a joint summary of all rulings in proposed order format.
                                  13
                                                                          PRETRIAL ARRANGEMENTS
                                  14
                                                     F. Should a daily transcript and/or real-time reporting be desired, the parties shall
                                  15
                                       make arrangements with Richard Duvall, Supervisor of the Court Reporting Services, at (415)
                                  16
                                       522-2079, or Richard_Duvall@cand.uscourts.gov, at least fourteen (14) calendar days prior to the
                                  17
                                       trial date.
                                  18
                                                     G. During trial, counsel may wish to use overhead projectors, computer graphics,
                                  19
                                       poster blow-ups, models, or specimens of devices. Equipment should be shared by all counsel to
                                  20   the maximum extent possible. The Court has an AV cart that can be made available to counsel. If
                                  21   the parties are interested in using the Court's AV cart, they should contact the deputy clerk one (1)
                                  22   week prior to the final pretrial conference to inquire about availability. The AV cart can't be
                                  23   reserved until the day of the final pretrial conference. Once the AV cart has been reserved, the
                                  24   deputy clerk will make arrangements with counsel for training on the AV cart. If the AV cart is
                                  25   not available, the Court can only provide an easel. The United States Marshal requires a court
                                  26   order to allow equipment into the courthouse. For electronic equipment, parties should be
                                  27   prepared to maintain the equipment or have a technician handy at all times. The parties shall tape

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                                   1   extension cords to the carpet for safety. The parties may work with the deputy clerk, Karen Hom

                                   2   (415-522-2035), on all courtroom-layout issues.

                                   3                                               SCHEDULING

                                   4              H. Trial will be conducted from 8:30 a.m. to 2:30 p.m. (or slightly longer to finish a

                                   5   witness) with one fifteen-minute break and one forty-five (45) minute lunch break, Monday

                                   6   through Thursday, excluding holidays. Counsel must arrive by 8:15 a.m., or earlier as needed for
                                       any matters to be heard out of the presence of the jury. The jury will be called at 8:30 a.m. Jury
                                   7
                                       deliberations will be allowed on Fridays.
                                   8
                                                                                          THE JURY
                                   9
                                                  I. No later than on the first day of trial, counsel shall jointly submit a simplified
                                  10
                                       Statement of the Case to be read to the jury during voir dire as part of the proposed jury
                                  11
                                       instructions. Unless the case is extremely complex, this statement should not exceed one page.
                                  12
Northern District of California
 United States District Court




                                       The Court will usually conduct the voir dire.
                                  13
                                                  J. In civil cases, there are no alternate jurors and the jury is selected as follows:
                                  14
                                       Twenty jurors are called to fill the jury box and the row in front of the bar, and are given numbers
                                  15
                                       (1 through 20). The remaining potential jurors will be seated in the public benches. Hardship
                                  16
                                       excuses will usually be considered at this point. The Court will then ask questions of those in the
                                  17
                                       box and in the front of the bar. Counsel may then conduct a limited voir dire. Challenges for
                                  18
                                       cause will then be addressed out of the presence of the potential jurors. The Court will consider
                                  19   whether to fill in the seats of the stricken jurors. If so, questions will be asked of the additions and
                                  20   cause motions as to them will be considered. After a short recess, each side may exercise its
                                  21   allotment of peremptory challenges out of the presence of the potential jurors. The eight (or such
                                  22   other size as will constitute the jury) surviving the challenge process with the lowest numbers
                                  23   become the final jury. For example, if the plaintiff strikes 1, 5, and 7 and the defendant strikes 2,
                                  24   4, and 9, then 3, 6, 8, 10, 11, 12, 13, and 14 become the final jury. If more (or fewer) than eight
                                  25   jurors are to be seated, then the starting number will be adjusted. So too if more than a total of six

                                  26   peremptories is allowed. Once the jury selection is completed, the jurors’ names will be read

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                                   1   again and they will be seated in the jury box and sworn. The Court may alter the procedure in its

                                   2   discretion.

                                   3                 K. Jurors may take notes. Note pads will be distributed at the beginning of each trial.

                                   4   The note pads will be collected at the end of each day and locked in the jury room. Jurors will be

                                   5   instructed on the use of notes both in the preliminary and final jury instructions.

                                   6                                         OPENING STATEMENTS
                                                     L. Each side will have a predetermined time limit for its opening statement (usually no
                                   7
                                       more than 45 minutes per side). Counsel must cooperate and meet and confer to exchange any
                                   8
                                       visuals, graphics, or exhibits to be used in the opening statements, allowing for time to work out
                                   9
                                       objections and any reasonable revisions. Opening statements will commence as soon as the jury is
                                  10
                                       sworn.
                                  11
                                                                                     WITNESSES
                                  12
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                                                     M. At the close of each trial day, all counsel shall exchange a list of witnesses for the
                                  13
                                       next two full court days and the exhibits that will be used during direct examination (other than for
                                  14
                                       impeachment of an adverse witness). Within 24 hours of such notice, all other counsel shall
                                  15
                                       provide any objections to such exhibits and shall provide a list of all exhibits to be used with the
                                  16
                                       same witness on cross-examination (other than for impeachment). The first notice shall be
                                  17
                                       exchanged prior to the first day of trial. All such notices shall be provided in writing.
                                  18
                                                     N. The parties and counsel shall have all upcoming witnesses ready to testify. Failure
                                  19   to have the next witness ready or to be prepared to proceed with the evidence will usually be
                                  20   deemed to constitute resting. If counsel plans to read in a transcript of a deposition, counsel must
                                  21   have a deposition prepared and vetted early on to read into the record.
                                  22                 O. Counsel shall prepare two (2) sets of witness binders with the exhibits they plan to
                                  23   use with that witness. The second set will be given to the Court on the day the witness testifies.
                                  24                 P. When there are multiple parties, counsel are responsible for coordination of the
                                  25   cross-examination to avoid duplication.

                                  26                 Q. If there are multiple parties on a side, counsel for only one party may cover a

                                  27   subject matter; reiteration of the examination, whether direct or cross, will not be permitted.

                                  28
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                                   1                                                 EXPERTS

                                   2              R. At trial, direct testimony of experts will be limited to the matters disclosed in their

                                   3   reports. Omitted material may not ordinarily be added on direct examination. Illustrative

                                   4   animations, diagrams, charts, and models may be used on direct examination only if they were part

                                   5   of the expert report, with the exception of simple drawings and tabulations that plainly illustrate

                                   6   the content of the report, which can be drawn by the witness at trial or otherwise shown to the
                                       jury. If cross-examination fairly opens the door, however, an expert may go beyond the written
                                   7
                                       report on cross-examination and/or re-direct examination. By written stipulation, all parties may
                                   8
                                       relax these requirements. The Court will not permit Federal Rule of Evidence 703 to be used to
                                   9
                                       admit otherwise inadmissible evidence through the expert (i.e., through the “back door”).
                                  10
                                                  S. As to damages studies, the cut-off date for past damages will be as of the expert
                                  11
                                       report (or such earlier date as the expert may select). In addition, the experts may try to project
                                  12
Northern District of California
 United States District Court




                                       future damages (i.e., after the cut-off date) if the substantive standards for future damages can be
                                  13
                                       met. With timely leave of Court or by written stipulation, the experts may update their reports
                                  14
                                       (with supplemental reports) to a date closer to the time of trial.
                                  15
                                                     USE OF DEPOSITIONS TO IMPEACH AND SHORT READ-INS
                                  16
                                                  T. Depositions can be used at trial to impeach a witness testifying at trial or, in thecase
                                  17
                                       of a party deponent, “for any purpose.” The parties shall abide by the following procedure:
                                  18
                                                            1.      On the first day of trial, counsel shall bring the original and clean
                                  19                                copies of any deposition(s) intended to be used during the course of
                                  20                                the trial. Any corrections must be readily available. If counsel need
                                  21                                to use the deposition during a witness examination, they shall provide
                                  22                                the Court with a copy with any corrections at the outset of the
                                  23                                examination. This will minimize delay between the original question
                                  24                                and the read-ins of the impeaching material. Opposing counsel should
                                  25                                have their copy immediately available.

                                  26                        2.      When counsel reads a passage into the record, counsel should seek

                                  27                                permission from the Court. For example, counsel should state: “I wish

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                                   1                               to read in page 210, lines 1 to 10 from the witness’ deposition.” A

                                   2                               brief pause will be allowed for any objection.

                                   3                       3.      The first time a deposition is read, counsel shall state the deponent’s

                                   4                               name, the date of the deposition, the name of the lawyer asking the

                                   5                               question, and if it was a Federal Rule of Civil Procedure 30(b)(6)
                                                                   deposition. The first time a deposition is read, the Court will give an
                                   6
                                                                   appropriate explanation to the jury about depositions. Do not
                                   7
                                                                   embellish with follow-on questions.
                                   8
                                                           4.      When reading in the passage, counsel shall state “question” and then
                                   9
                                                                   read the question exactly, followed by,“answer” and then read the
                                  10
                                                                   answer exactly. Stating “question” and “answer” is necessary so the
                                  11
                                                                   jury and the court reporter can follow who was talking at the
                                  12
Northern District of California




                                                                   deposition. Once the passage is on the record, move on. Opposing
 United States District Court




                                  13
                                                                   counsel may then immediately ask to read such additional testimony
                                  14
                                                                   as is necessary to complete the context.
                                  15
                                                           5.      To avoid mischaracterizing the record, counsel should not ask,
                                  16
                                                                   “Didn’t you say XYZ in your deposition?” It is unnecessary to ask a
                                  17                               witness if he “recalls” the testimony or otherwise to lay a foundation.
                                  18                       6.      Subject to Federal Rule of Evidence 403, party depositions may be
                                  19                               read into the record whether or not they contradict trial testimony (and
                                  20                               regardless of who the witness is on the stand). For example, a short
                                  21                               party deposition excerpt may be used as foundation for questions for a
                                  22                               different witness on the stand.
                                  23                                   DEPOSITION DESIGNATION
                                  24              U. The following procedure applies only to witnesses who appear by deposition. It

                                  25   does not apply to live witnesses whose depositions are read into the record while they are on the

                                  26   stand.

                                  27

                                  28
                                                                                        8
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                                   1                 1. To designate deposition testimony, counsel shall photocopy the cover

                                   2                    page, the page where the witness is sworn, and then each page containing

                                   3                    any testimony to be proffered, with lines through portions of such pages

                                   4                    not proffered. In addition, counsel shall line through objections or

                                   5                    colloquy unless they are needed to understand the question. Any
                                                        corrections must be interlineated, and references to exhibit numbers must
                                   6
                                                        conform to the trial numbers. Such interlineations should be done by
                                   7
                                                        hand. The finished packet should then be the actual script and should
                                   8
                                                        smoothly present the identification and swearing of the witness and
                                   9
                                                        testimony desired. The packet must be provided to all other parties at
                                  10
                                                        least twenty (20) calendar days before the Pretrial Conference. For the
                                  11
                                                        rare case of voluminous designations, more lead time will be required.
                                  12
Northern District of California




                                                        Counsel are advised to be reasonable.
 United States District Court




                                  13
                                                     2. All other parties must promptly review the packet and highlight in yellow
                                  14
                                                        any passages objected to and write in the margin the legal basis for the
                                  15
                                                        objections. If a completeness objection is made, the objecting party must
                                  16
                                                        insert into the packet the additional passages as needed to cure the
                                  17                    completeness objection. A completeness objection generally should be
                                  18                    made only if a few extra lines will cure the problem. Such additions shall
                                  19                    be highlighted in blue and an explanation for the inclusion shall be legibly
                                  20                    handwritten in the margin. Counsel must line out or x-out any irrelevant
                                  21                    portions of the additional pages.
                                  22                 3. The packets, as adjusted, must then be returned to the proffering party, for
                                  23                    consideration of whether to accept the adjustments. Next, counsel shall

                                  24                    meet and confer. Counsel for the proffering party must collate and

                                  25                    assemble a final packet that covers the proffer and all remaining issues.

                                  26                    At least ten (10) calendar days before the Pretrial Conference, the

                                  27                    proponent must provide the Court with the final packet, with any

                                  28                    objected-to portions highlighted and annotated as described above. If
                                                                                 9
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                                   1                             exhibits are needed to resolve the objections, counsel should include

                                   2                             copies, with the relevant passages highlighted and tagged. The Court will

                                   3                             then read the packet and indicate its rulings in the margin in a distinctive

                                   4                             manner. Ordinarily, argument will not be needed.

                                   5                          4. Counter-designations must be made by providing a packet with the
                                                                 counter-designated passages to the proponent at the same time any
                                   6
                                                                 objections to the original proffer are returned to the first proffering party,
                                   7
                                                                 who must then supply its objections in the same manner.
                                   8
                                                              5. When the packet is read to the jury, the examiner shall read the questions
                                   9
                                                                 (and any relevant colloquy) from the lectern while a colleague sits in the
                                  10
                                                                 witness stand and reads the answers. While reading the deposition the
                                  11
                                                                 reader and “witness” shall refrain from undue emoting, emphasis or other
                                  12
Northern District of California




                                                                 dramatization.
 United States District Court




                                  13
                                                              6. When a video deposition is to be played, the video should omit any dead
                                  14
                                                                 time, long pauses, and objections/colloquy not necessary to understand
                                  15
                                                                 the answers.
                                  16
                                                       REQUESTS FOR ADMISSIONS AND INTERROGATORIES
                                  17
                                                  V. Please designate responses to requests for admissions and interrogatory answers in
                                  18   the same manner and under the same timetable as deposition designations.
                                  19                                                       EXHIBITS
                                  20              W. Prior to the Final Pretrial Conference, counsel must meet and confer in person to
                                  21   consider all exhibit numbers and objections and to eliminate duplicate exhibits and confusion over
                                  22   the precise exhibit.
                                  23              X. Use numbers only, not letters, for exhibits, preferably the same numbers as were
                                  24   used in depositions. Blocks of numbers should be assigned to fit the need of the case (e.g.,
                                  25   Plaintiff has 1 to 100, Defendant A has 101 to 200, Defendant B has 201 to 300, etc.). A single

                                  26   exhibit should be marked only once, just as it should have been marked only once in discovery

                                  27   pursuant to this Court’s discovery guidelines. If the plaintiff has marked an exhibit, then the

                                  28
                                                                                          10
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                                   1   defendant should not re-mark the exact document with another number. Different versions of the

                                   2   same document, e.g., a copy with additional handwriting, must be treated as different exhibits with

                                   3   different numbers. To avoid any party claiming “ownership” of an exhibit, all exhibits shall be

                                   4   marked and referred to as “Trial Exhibit No. _____,” not as “Plaintiff’s Exhibit” or “Defendant’s

                                   5   Exhibit.” If an exhibit number differs from that used in a deposition transcript, then the latter
                                       transcript must be conformed to the new trial number if and when the deposition testimony is read
                                   6
                                       to the jury (so as to avoid confusion over exhibit numbers). The jury should always hear any
                                   7
                                       given exhibit referred to by its unique number. There should be no competing versions of the
                                   8
                                       same exhibit number; any discrepancies must be brought to the Court’s attention promptly.
                                   9
                                                   Y. The exhibit tag shall be in the following form:
                                  10

                                  11
                                                                      UNITED STATES DISTRICT COURT
                                  12
Northern District of California
 United States District Court




                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                  13

                                  14
                                                                          TRIAL EXHIBIT 100
                                  15

                                  16
                                                                          Case No. ________________
                                  17

                                  18
                                                                          Date Entered _____________
                                  19

                                  20                                      By______________________
                                                                          Deputy Clerk
                                  21

                                  22

                                  23
                                       Counsel preferably will make the tag up in a color that will stand out (yet still allow for
                                  24
                                       photocopying), but that is not essential. Place the tag on or near the lower right-hand corner or, if
                                  25
                                       a photograph, on the back. Counsel should fill in the tag but leave the last two spaces blank.
                                  26
                                       The parties must jointly prepare a single set of all trial exhibits that will be the official record set
                                  27
                                       to be used with the witnesses and on appeal. Each exhibit must be tagged, three-hole-punched,
                                  28
                                                                                           11
                                        Case 3:20-cv-07182-JCS Document 371 Filed 08/30/22 Page 12 of 15




                                   1   separated with a label divider identifying the exhibit number, and placed in 3-ring binders. Spine

                                   2   labels should indicate the numbers of the exhibits that are in the binders. Each set of exhibit

                                   3   binders should be marked as "Original". Deposit the exhibits with the deputy clerk ten (10) days

                                   4   before the Pretrial Conference.

                                   5                Z. Counsel must consult with each other and with the deputy clerk at the end of each

                                   6   trial day and compare notes as to which exhibits are in evidence and any limitations thereon. If

                                   7   there are any differences, counsel should bring them promptly to the Court’s attention.

                                   8          AA.      In addition to the official record exhibits, a single, joint set of bench binders

                                   9   containing a copy of the exhibits must be provided to the Court ten (10) days before the Pretrial
                                       Conference, and should be marked as "Chambers Copies". Each exhibit must be separated with a
                                  10
                                       label divider identifying the exhibit number. (An exhibit tag is unnecessary for the bench set.)
                                  11
                                       Spine labels should indicate the numbers of the exhibits that are in the binders.
                                  12
Northern District of California
 United States District Court




                                              BB.      Before the closing arguments, counsel must confer with the deputy clerk to make
                                  13
                                       sure the exhibits in evidence are in good order. Counsel may, but are not required to, jointly
                                  14
                                       provide a revised list of all exhibits actually in evidence (and no others) stating the exhibit number
                                  15
                                       and a brief, non-argumentative description (e.g., letter from A. B. Case to D. E. Frank, dated
                                  16
                                       August 17, 1999). This list may go into the jury room to help the jury sort through exhibits in
                                  17
                                       evidence.
                                  18
                                              CC.      Exhibit notebooks for the jury will not be permitted without prior permission from
                                  19
                                       the Court. Publication must be by poster blow-up, overhead projection, or such other method as is
                                  20
                                       allowed in the circumstances. It is permissible to highlight, circle or underscore in the
                                  21   enlargements as long as it is clear that it was not on the original.
                                  22                                               OBJECTIONS
                                  23          DD.      Counsel shall stand when making objections and shall not make speeches. Simply
                                  24   give the legal basis for your objection (e.g., “calls for speculation” or “objection, hearsay”).
                                  25          EE.      There can only be one lawyer per witness per party for all purposes, including
                                  26   objections. Only one lawyer will be permitted to make the opening statement and closing
                                  27   argument unless the Court has given prior approval to more than one lawyer doing so.
                                  28
                                                                                          12
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                                   1             FF.    Side bar conferences are discouraged.

                                   2             GG.    To maximize jury time, counsel must alert the Court in advance of any problems

                                   3   that will require discussion outside the presence of the jury, so that the conference can be held

                                   4   before court begins or after the jury leaves for the day.

                                   5                                              STIPULATIONS

                                   6             HH.    You must read all stipulations to the jury in order for them to become a part of the
                                       record.
                                   7
                                                                                   TIME LIMITS
                                   8
                                                 II.    Ordinarily, the Court shall set fixed time limits at the final pretrial conference. All
                                   9
                                       of your examination time (whether direct, cross, re-direct or re-cross) for all witnesses must fit
                                  10
                                       within your time limit. Opening and closing time limits shall be considered separately. The time
                                  11
                                       taken at a side bar or on objections will still be charged to the examining party unless otherwise
                                  12
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                                       ordered.
                                  13
                                                                           CHARGING CONFERENCE
                                  14
                                                 JJ.    As the trial progresses and the evidence is heard, the Court will fashion a
                                  15
                                       comprehensive set of jury instructions to cover all issues actually being tried. Prior to the close of
                                  16
                                       the evidence, the Court will provide a draft final charge to the parties. After a reasonable period
                                  17
                                       for review, one or more charging conferences will be held at which each party may object to any
                                  18
                                       passage, ask for modifications, or ask for additions. Any instruction request must be renewed
                                  19
                                       specifically at the conference or it will be deemed waived, whether or not it was requested prior to
                                  20   trial. If a party still wishes to request an omitted instruction after reviewing the Court’s draft, then
                                  21   it must affirmatively re-request it at the charging conference in order to give the Court a fair
                                  22   opportunity to correct any error. Otherwise, as stated, the request will be deemed abandoned or
                                  23   waived.
                                  24                                        JUROR QUESTIONNAIRE
                                  25             The attached voir dire questionnaire shall be given to the potential jurors and copies of the
                                  26   responses will be made available to counsel at the beginning of voir dire.
                                  27             IT IS SO ORDERED.
                                  28
                                                                                          13
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                                   1   Dated: August 30, 2022

                                   2                                       ______________________________________
                                                                           JOSEPH C. SPERO
                                   3                                       United States Chief Magistrate Judge
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                                                                                 CONFIDENTIAL
                                   1
                                                                           JUROR QUESTIONNAIRE
                                   2   Please fill out this form as completely as possible and print clearly. Since we want to make copies
                                       for the attorneys and the Court, do not write on the back of any page. If you need more room,
                                   3
                                       continue at the bottom or on the side of the page. Thank you for your cooperation.
                                   4
                                       1.        Your name:
                                   5
                                       2.        Your age:
                                   6   3.        City in which you reside:
                                       4.        Your place of birth:
                                   7
                                       5.        Do you rent or own your own home?
                                   8   6.        Are you married or do you have a domestic partner?          Yes              No
                                       7.        Please list the occupation of your spouse or domestic partner:
                                   9

                                  10
                                       8.        If you are not married and do not have a domestic partner, are you (circle one, if
                                  11
                                                 applicable):
                                  12             ( ) Single             ( ) Separated           ( ) Divorced            ( ) Widowed
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                                       9.        If you have children, please list their ages and sex and, if they are employed, please give
                                  13
                                                 their occupations:
                                  14

                                  15

                                  16
                                       10.       What is your occupation and how long have you worked in it? (If you are retired, please
                                  17
                                                 describe your main occupation when you were working.)
                                  18
                                  19
                                       11.    Who is (or was) your employer?
                                  20   12.    How long have you worked for this employer?
                                       13.    Please describe your education background:
                                  21
                                       Highest grade completed:
                                  22   College and/or vocational schools you have attended:
                                  23

                                  24   Major areas of study:
                                       14.     Have you ever had jury experience?                       Number of times?
                                  25
                                       If yes: State/County Court              Federal Court
                                  26   When?                  Was it a civil or criminal case?
                                       Did any of the juries reach a verdict ?        Yes              No
                                  27

                                  28
                                       Revised 5-9-18
